       Case 9:18-cr-00054-DLC Document 10 Filed 10/04/18 Page 1 of 7



TARA J. EIJLlOTT
Assistant U.S. Attorney
                                                                 FilED
U.S. Attorney's Office                                             OCT -     1'1   2018
P.O. Box 8329                                                    Cieri< u.s Distnct Caur!
                                                                    OiStrict Of Montana
Missoula, MT 59807                                                     GE:2~ rs~lr.
105 E. Pine, 2nd Floor
Missoula, MT 59802
Phone: (406) 542-8851
tara.elliott@usdoj.gov

TARYNMEEKS
Trial Attorney
~ational Security Dhision
U.S. Department of Justice
Phone: (202) 532-4162
taryn.meeks@usdoj.gov

ATTOR.~EYS FOR PLAINTIFF
UNITED STATES OF AMERICA

              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                       MISSOULA DIVISION

 UNITED STATES OF AMERICA,               CR 18..oLJ -M- bLc...

             Plaintift~                  INDICTMENT

       vs.                               DISTRIBUTION OF EXPLOSIVE
                                         MATERIALS
                                         Title 18 U.S.C. § 842(a)(3)(B)
 BRUCE BOONE WANN,
                                         (Counts I and II)
                                         (Penalty: Ten years imprisonment,
             Defendant.              I   $250,000 fine, and three years supervised
                                         release)




                                     1
      Case 9:18-cr-00054-DLC Document 10 Filed 10/04/18 Page 2 of 7



                                       ILLEGAL POSSESSION OF A
                                       MACHlNEGUN
                                       Title 18 U.S.C. § 922(0) (Count III)
                                       (Penalty: Ten years imprisonment,
                                       $250,000 fine, and three years supervised
                                       release)

                                       POSSESSION OF Ac'IJ UNREGISTERED
                                       SILENCER
                                       Title 26 U.S.C. § 5861(d) (Counts IV and V)
                                       (Penalty: Ten years imprisonment,
                                       $250,000 fine, and three years supervised
                                       release)

                                       POSSESSION OF FIREARMS WITH
                                       OBLITERATED SERIAL NUMBERS
                                       Title 18 U.S.C. § 922(k) (Count VI)
                                       (Penalty: Five years imprisonment,
                                       $250,000 fine, and three years supervised
                                       release)

                                       POSSESSION OF A SHORT
                                       BARRELLED RIFLE
                                       Title 26 U.S.C. § 586t(d) (Count VII)
                                       (Penalty: Ten years imprisonment, $10,000
                                       fine, and three years of supervised release)

                                       POSSESSION OF A DESTRUCTIVE
                                       DEVICE
                                       Title 26 U.S.C. § 5861(d) (Count VIII)
                                       (Penalty: Ten years imprisonment, $10,000
                                       fine, and three years of supervised release)

                                       POSSESSION OF A STOLEN FIREARM
                                       Title 18 U.S.c. § 922(j) (Count IX)
                                       (Penalty: Ten years imprisonment,
                                       $250,000 fine, and three years supervised
                                       release)

                                       CRIMINAL FORFEITURE
                                       18 U.S.C. § 844(c)
                                       18 U.S.c. § 924(d)
                                       26 U.S.c. § 5872(a)


THE GRAl\TI JURY CHARGES:


                                   2
        Case 9:18-cr-00054-DLC Document 10 Filed 10/04/18 Page 3 of 7




                                     COUNTl

      On or about June 21,2018, at Marion and within Flathead County, in the

State and District of Montana, the defendant, BRUCE BOONE W ANN, not being

a licensee and permittee under the provisions of Chapter 40 of Title 18 of the

United States Code, knowingly distributed explosive materials, namely an

improvised grenade, to another a person who was not a licensee and permittee

under the provisions of Chapter 40 of Title 18 of the United States Code, in

violation of 18 U.S.c. §§ 842(a)(3)(B) and 844(a).

                                    COUNT II

      On or about June 22, 2018, at Kila and within Flathead County, in the State

and District of Montana, the defendant, BRUCE BOONE WANN, not being a

licensee and permittee under the provisions of Chapter 40 ofTitic 18 of the United

States Code, knowingly distributed explosive materials, namely dynamite, to

another a person who was not a licensee and permittee under the provisions of

Chapter 40 of Title 18 of the United States Code, in violation of 18 U.S.C.

§§ 842(a)(3)(B) and 844(a).

                                    COUNTUI

      On or about June 21, 2018, at Marion and within Flathead County, in the

State and District of Montana, the defendant, BRUCE BOONE WANN, knowingly




                                         3
        Case 9:18-cr-00054-DLC Document 10 Filed 10/04/18 Page 4 of 7



possessed a machinegun, namely a RPB Industries, Model M 10, .45 ACP caliber

firearm, in violation of 18 U.S.C. § 922(0).

                                    COUNTIY

      On or about June 21, 2018, at Marion and within Flathead County, in the

State and District of Montana, the defendant, BRUCE BOONE WANN, knowingly

possessed a firearm, namely a silencer (attached to a Ruger, Model MKlI, .22LR

caliber pistol) having no markings and no serial number attached, which was not

registered to him in the National Firearms Registration and Transfer record, in

violation of26 U.S.c. § 5861(d).

                                     COUNTY

      On or about June 21, 2018, at Marion and within Flathead County, in the

State and District of Montana, the defendant, BRUCE BOONE WANN, knowingly

possessed a firearm, namely a silencer (attached to an Argentine Mauser, Model

1909.308 Winchester caliber rifle) having no markings and no serial number

attached, which was not registered to him in the National Firearms Registration

and Transfer record, in violation of 26 V.S.c. § 5861 (d).

                                    COUNT VI

      On or about June 21, 2018, at Marion and within Flathead County, in the

State and District of Montana, the defendant, BRUCE BOONE WANN, knowingly

possessed firearms, namely: a Ruger, Model MKII, .22LR caliber pistol, and an



                                          4
        Case 9:18-cr-00054-DLC Document 10 Filed 10/04/18 Page 5 of 7



Argentine Mauser, Model 1909 .308 Winchester caliber, that had been shipped and

transported in interstate and foreign commerce respectively, from which the

manufacturer's serial numbers had been removed, altered, and obliterated, in

violation of18 US.c. § 922(k).

                                    COUNT VII

      On or about June 21,2018, at Marion and within Flathead County, in the

State and District of Montana, the defendant, BRUCE BOONE WANN, knowingly

possessed a firearm, that is a Ruger, Model 10/22 Carbine, .22LR caliber rifle,

having a barrel of less than 16 inches in length and an overall length of less than 26

inches, which was not registered to the defendant in the National Firearms

Registration and Transfer Record, in violation of 26 U.S.C. § 5861(d).

                                    COUNT VIII

      On or about June 21, 2018, at Marion and within Flathead County, in the

State and District of Montana, the defendant, BRUCE BOONE WANN, knowingly

possessed a firearm, that is a destructive device, as defined by 26 US.c.

§ 5845(a)(8) and (t)(l)(A), namely an improvised grenade, which was not

registered to the defendant in the National Firearms Registration and Transfer

Record, in violation of26 US.C. § 5861(d).




                                          5
        Case 9:18-cr-00054-DLC Document 10 Filed 10/04/18 Page 6 of 7



                                    COUNT IX

      On or about September 16, 2018, at Kalispell and within Flathead County, in

the State and District of Montana, the defendant, BRUCE BOONE WANN,

knowingly possessed stolen firearms, namely, an American Tactical .45 caliber

pistol, a Spikes Tactical AR-15 rifle, and a Smith and Wesson model 1000 12­

gauge shotgun, each having been transported in interstate commerce, knowing and

having reasonable cause to believe the firearms were stolen, in violation of 18

US.c. § 922(j).

                           FORFEITURE ALLEGATION

      Upon conviction of any offense charged in counts I and II of this indictment,

the defendant, BRUCE BOONE WANN, pursuant to 18 U.S.c. § 844(c), shall

forfeit to the United States any explosive materials involved and used and intended

to be used in the violation.

      Upon conviction of any of the offense charged in counts III through IX of

this indictment, the defendant, BRUCE BOONE WANN, pursuant to 18 US.c.

§ 924(d), shall forfeit to the United States: (1) any firearms and ammunition

involved and used in any knowing violation of said offense; and (2) any firearms

and anununition involved and used in any willful violation of 18 U.S.c. § 922(0)

and 26 U.S.c. § 5861(d), including the firearms listed in counts III through IX, and

any related anununition.



                                         6
        Case 9:18-cr-00054-DLC Document 10 Filed 10/04/18 Page 7 of 7



       Upon conviction of any offense charged in counts IV, V, VII and VIII of

this indictment, the defendant, BRUCE BOONE WANN, pursuant to 26 U.S.c.

§ 5872(a), shall forfeit to the United States any fireanns involved in any violation

of 26 U.S.C. § 5861 (d), including the fireanns listed in counts IV, V, VII and VIII.

      A TRlJE BILL.             Foreperson signature redacted. Original document filed
                                under seal.




~~~~~~G~A~RD~~--~
 nminal Chief Assistant U.S. Attorney




                                                         Crim. SUI1lIIlOIU_ _
                                                         Warrant.,_ _ __
                                                         8QII._ _ _~

                                                       ""IC\ ~ ec\ CJ.Js~'1
                                                             t>s t",c:'C\{"\\'t1e.r\ >r  6ct
                                                              lD \Ioh '6 W (~r CO pm
                                                            N\1;:.\c, - 3udGe... L'Jrc.h
                                           7
